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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ALLIED EMERGENCY SERVICES,          )
INC., An Illinois Corporation,      )
                                    )
              Plaintiff,            )                Case No. 20-CV-06136
                                    )
       v.                           )                The Hon. Jeffrey I. Cummings
                                    )
AMERICAN FAMILY INSURANCE           )
COMPANY, A Property & Casualty      )
Foreign Stock Insurance Company,    )
                                    )
              Defendant.            )
____________________________________)

                                  JOINT STATUS REPORT

       Plaintiff,   ALLIED     EMERGENCY         SERVICES        (“ALLIED”),   and   Defendant,

AMERICAN FAMILY INSURANCE COMPANY (“AMERICAN FAMILY”), have conferred

as required by Rule 26(f), and through their undersigned counsel, jointly submit the following

Joint Status Report as required by the Court’s Minute Entry dated June 22, 2021.

1.)    The following Fact Discovery is completed.
         a.) The parties have exchanged Rule 26(a) Disclosures.
         b.) Plaintiff propounded Interrogatories and Requests to Produce on June 21, 2021.
2.)    Remaining Fact Discovery.
         a.) It is anticipated that four (4) depositions will be required:
                    i.)     Curt Testa, President, Allied Emergency Services, Inc.
                    ii.)    Richard Sipolt, Homeowner/Policy Holder
                    iii.)   Matthew Sipolt, Homeowner/Policy Holder
                    iv.)    Cary Haskell, Claims Adjuster, American Family Insurance Company.
         b.) Depositions scheduled to be completed by August 30, 2021.
          c.) The parties may require Expert Witnesses following completion of the depositions
listed above.
         d.) Plaintiff’s Expert Witnesses to be disclosed by September 30, 2021.



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         e.) Defendant’s Expert Witnesses to be completed by October 30, 2021.
3.)    No discovery disputes exist requiring the Court’s attention.




Respectfully submitted,

BRUNING & ASSOCIATES, P.C.                   LEAHY, EISENBERG & FRAENKEL, LTD.

By: _/s/ John A. Busch_______                By: _/s/ Thomas J. Finn__________________
       John A. Busch                                Thomas J. Finn
       Attorney for Plaintiff                       Attorney for Defendant

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